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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                     AT LOUISVILLE

                                         Electronically Filed

  JEFFREY DEWAYNE CLARK
  GARR KEITH HARDIN

                 PLAINTIFFS,

         VS.                                           CIVIL NO. 3:17-CV-00419-DJH-CHL

  LOUISVILLE JEFFERSON COUNTY
  METRO GOVERNMENT, ET AL.

               DEFENDANTS.


   DEFENDANT MARK HANDY’S MEMORANDUM IN SUPPORT OF HIS MOTION TO
     STAY ALL DISCOVERY DIRECTED TO HIM PENDING RESOLUTION OF HIS
                            CRIMINAL TRIAL


         Defendant Mark Handy (“Mr. Handy”) moves the Court to stay all discovery propounded

  upon him pending the outcome of his state criminal proceedings. As Mr. Handy explains below,

  a stay of discovery directed to him is necessary to protect his rights in the criminal proceeding and

  in this one, and to promote the just and efficient resolution of this action. This Court has granted

  such a stay in many similar cases, and it should do so again here.


                                              Background

         Mr. Handy was formerly employed by Louisville Metro Police Department as a homicide

  detective. Since leaving that role, and the police force, allegations have arisen regarding Mr.

  Handy’s investigation of select criminal investigations. The Plaintiffs in this case were convicted

  of murdering Rhonda Sue Warford by a jury of their peers in Meade County, Kentucky, in 1995.

  They each later admitted their guilt to the Parole Board and provided details of how they committed

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  their grisly crime.

         Mr. Handy was one of many police officers asked to assist the Meade County Sheriff’s

  Office in investigating the case. Many years after the Plaintiffs were convicted by a jury of their

  peers, advancements in DNA science and technology allowed for more accurate testing of physical

  evidence. Plaintiffs petitioned, and received permission to have physical evidence from the crime

  scene DNA tested using these new technologies. After receiving the results, the Plaintiffs

  subsequently filed a motion for a new trial with the Meade Circuit Court, and their convictions

  were ultimately vacated.

         Plaintiff Jeffrey Clark filed the present lawsuit against Meade County, the Louisville Metro

  Police Department, Handy and others on July 12, 2017. Plaintiff Garr Keith Hardin filed a nearly

  identical complaint. The cases were subsequently consolidated. (R. 34.) At that same time, the

  Court stayed proceedings to allow for final resolution of the Plaintiffs’ underlying criminal

  proceedings. (Id.) As noted at that time in the Joint Motion to Stay, “all parties to this action

  agree[d] that the civil case should be stayed pending resolution of the [Plaintiffs’] criminal

  matters.” (R. 31.) When the Plaintiffs’ criminal cases had finally concluded, the parties filed a

  joint motion, and the Court lifted the stay. (R. 37.) A little over six months after that stay was

  lifted, Handy was indicted in Jefferson County, Kentucky, on charges of Perjury and Tampering

  with Physical Evidence. See Commonwealth v. Handy, Jefferson Circuit Court, 18-CR-002871

  (September 26, 2018). That criminal proceeding is still ongoing. Plaintiffs now seek discovery

  from Mr. Handy.

         As recognized by all parties earlier in this case when the Plaintiffs had criminal actions

  pending, Handy cannot adequately represent his interests in this civil action while also defending

  himself in the parallel criminal proceeding. As explained more fully below, Mr. Handy asks the



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  Court to do what other courts routinely do when confronted with this situation, and stay discovery

  until the parallel criminal case is resolved.



                                                  Argument
         The Court has the inherent power to stay discovery to protect the rights of the parties, and

  to ensure the efficiency of court proceedings. Landis v. North American Co., 299 U.S. 248, 254-

  55 (1936). See also Clinton v. Jones, 520 U.S. 681, 706 (1997) (“[T]he District Court has broad

  discretion to stay proceedings as an incident to its power to control its own docket.”) In no

  situation is a stay more appropriate than here, where a person is both a civil and criminal defendant

  at the same time. Courts have almost universally recognized the Hobson’s choice faced by

  individuals who are defending against criminal charges while also defending against a related civil

  lawsuit. These defendants have a Fifth Amendment right not to speak, and asserting this right may

  not be used against them in the criminal case. U.S. Const. Amend. V (“No person…shall be

  compelled in any criminal case to be a witness against himself.”); Carter v. Kentucky, 450 U.S.

  288, 305 (1981) (“The freedom of a defendant in a criminal trial to remain silent unless he chooses

  to speak in the unfettered exercise of his own will is guaranteed by the Fifth Amendment…” and,

  furthermore, the “Constitution guarantees that no adverse inferences are to be drawn” from a

  defendant’s decision to invoke the Fifth Amendment.) The Fifth Amendment right against self-

  incrimination carries over to civil proceedings, where a defendant may assert the right and refuse

  to answer questions if the answer may be incriminating. Minnesota v. Murphy, 465 U.S. 420, 426

  (1984); Keeling v. Com., 381 S.W.3d 248, 267 (Ky. 2012). Incredibly important, however, a court

  may take an adverse inference in a civil proceeding – a presumption of guilt – from a defendant’s

  strategic decision to assert his Fifth Amendment rights. Baxter v. Palmigiano, 425 U.S. 308, 318

  (1976) (“[T]he Fifth Amendment does not forbid adverse inferences against parties to civil actions

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  when they refuse to testify in response to probative evidence offered against them….”) This is

  undoubtedly the result that Plaintiffs seek in soliciting discovery from Handy at this time.

         As noted by Judge Hood in the Eastern District, “[a] party claiming the Fifth Amendment

  privilege should [ ] suffer no penalty for his silence.” Walker v. The Nw. Mut. Life Ins. Co., 2015

  WL 5178702, at *3 (E.D. Ky. Sept. 4, 2015) (citing Simmons v. United States, 390 U.S. 377, 394

  (1968)). Yet, this is exactly what will happen if Handy is required to make this choice. Either

  option unduly burdens Handy’s exercise of a right guaranteed by the Constitution.

         Courts uniformly prevent this injustice by staying discovery in civil proceedings while

  criminal trials run their course. In Baranski v. Fifteen Unknown Agents of ATF, the Court

  explained that a civil defendant who has been indicted presents a “strong case” for a stay:

                 The noncriminal proceeding, if not deferred, might undermine the
                 party's Fifth Amendment privilege against self-incrimination,
                 expand rights of criminal discovery beyond the limits of Federal
                 Rule of Criminal Procedure 16(b), expose the basis of the defense
                 to the prosecution in advance of criminal trial, or otherwise
                 prejudice the case. If delay of the noncriminal proceeding would not
                 seriously injure the public interest, a court may be justified in
                 deferring it.

  195 F. Supp. 2d 862, 870 (W.D. Ky. 2002) (quoting Sec. & Exch. Comm'n v. Dresser Indus., Inc.,

  628 F.2d 1368, 1375-76 (D.C. Cir. 1980)). Other courts in this Circuit, including this one, have

  similarly found it appropriate to stay civil proceedings while parallel criminal cases ran their

  course. See e.g. B.L. v. Schuhmann, No. 3:18-CV-151-RGJ-CHL, 2019 WL 177940 (W.D. Ky.

  Jan. 11, 2019) (staying all discovery against criminal defendants pending conclusion of their

  respective criminal cases); Williams v. Jamison, No. 5:17-CV-00156-TBR, 2018 WL 3058874

  (W.D. Ky. June 20, 2018) (Granting Plaintiff’s motion to stay discovery pending final conclusion

  of Defendant’s criminal prosecution); Coats v. Grand Blanc Cmty. Sch., No. 18-CV-12162, 2018

  WL 6321916 (E.D. Mich. Dec. 3, 2018) (staying all proceedings in civil case until conclusion of


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  Defendant’s criminal trial); Boerste v. Ellis, LLC, No. 3:17-CV-298-GNS, 2017 WL 6377976

  (W.D. Ky. Dec. 13, 2017) (staying civil action at Defendant’s request until completion of criminal

  proceeding); Auramet Int'l, LLC v. Metals, No. 16-CV-11177, 2016 WL 4087234 (E.D. Mich.

  Aug. 2, 2016) (staying civil case for a period of 90 days while criminal case against Defendant

  proceeds); Stockwell v. Hamilton, No. 15-11609, 2016 WL 3438108 (E.D. Mich. June 23, 2016)

  (Court granted United States’ motion to stay until criminal case against Defendant resolved);

  United States Sec. & Exch. Comm'n v. Abdallah, 313 F.R.D. 59 (N.D. Ohio Feb, 2, 2016) (Court

  granted United States motion to stay discovery in civil enforcement action to prevent interference

  with the parallel criminal proceedings against Defendant. In so doing, the Court noted that the

  stay also benefitted Defendant by “eliminate[ing] the risk that their Fifth Amendment privilege

  against self-incrimination might be undermined, that criminal discovery might be expanded

  beyond the limits of Rule 16(b) of the Federal Rules of Criminal Procedure, and that either side

  might otherwise be prejudiced in advance of the criminal trial.”); Bunch v. Foley, No. 1:15-CV-

  00114-GNS-HBB, 2015 WL 7871051 (W.D. Ky. Dec. 3, 2015) (holding civil case in abeyance at

  request of defendant while plaintiff’s criminal case was pending); Walker, 2015 WL 5178702

  (staying civil case at plaintiff’s request until related criminal proceedings concluded); Porter v.

  Buckler, No. 0:14-127-DLB, 2015 WL 1926363 (E.D. Ky. Apr. 28, 2015) (granting stay in civil

  action at defendant’s request until appellate proceedings related to criminal case complete); Gough

  v. Carthan, No. 3:12-cv-00849-S-JDH (W.D. Ky. Nov. 19, 2014) (series of orders staying

  interrogatories and requests for admission, and delaying deposition until after conclusion of

  criminal trial) (attached as Exhibit A); Grider v. City of Russell Springs, No. 1:05-CV-137-TBR,

  2006 WL 3354140 (W.D. Ky. Nov. 17, 2006) (staying discovery at Plaintiff’s request through the

  conclusion of state court criminal proceedings)



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         Courts in other jurisdictions have similarly stayed civil cases while criminal cases were

  pending. See e.g. Dominguez v. Hartford Fin. Servs. Grp., Inc., 530 F. Supp. 2d 902 (S.D. Tex.

  2008) (staying civil proceedings pending resolution of underlying criminal charges); Chagolla v.

  City of Chicago, 529 F. Supp. 2d 941 (N.D. Ill. 2008) (staying all but “motions attacking the

  complaint” in light of parallel criminal proceedings); Doe v. City of Chicago, 360 F. Supp. 2d 880

  (N.D. Ill. 2005); Maloney v. Gordon, 328 F. Supp. 2d 508 (D. Del. 2004) (staying civil case while

  criminal case pending); Javier H. v. Garcia-Botello, 218 F.R.D. 72 (W.D.N.Y. 2003) (“[T]he

  Court orders a stay of discovery in this matter until the conclusion of evidence in the related

  criminal case.”); Walsh Sec., Inc. v. Cristo Prop. Mgmt., Ltd., 7 F. Supp. 2d 523, 525 (D.N.J.

  1998); Trustees of Plumbers & Pipefitters Nat. Pension Fund v. Transworld Mech., Inc., 886 F.

  Supp. 1134 (S.D.N.Y. 1995); Fid. Funding of California v. Reinhold, 190 F.R.D. 45, 52 (E.D.N.Y.

  1997) (staying discovery as to indicted Defendant so as to avoid forcing him to make the

  “unpalatable choice” between potentially incriminating self or pleading the Fifth); Twenty First

  Century Corp. v. LaBianca, 801 F. Supp. 1007 (E.D.N.Y. 1992) (granting motion to stay civil

  proceedings until conclusion of parallel criminal proceedings); Brock v. Tolkow, 109 F.R.D. 116

  (E.D.N.Y. 1985) (staying discovery pending outcome of criminal investigation); Mook v.

  Homesafe Am., Inc., 144 A.D.3d 1116, 41 N.Y.S.3d 759 (N.Y. App. Div. 2016) (Stay of civil

  action against owner was warranted where owner was subject of related criminal action.); Ex parte

  Antonucci, 917 So. 2d 825 (Ala. 2005) (Finding that trial court “exceeded its discretion in failing

  to stay the proceedings” where Defendant was subject of criminal investigation while suit was

  pending.) As the court noted in Transworld, after an indictment has issued, a discovery stay is

  “most appropriate.” 886 F. Supp. 1134, 1140-41.

         In determining whether to grant a stay, district courts within the Sixth Circuit generally



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  consider:

                  1) the extent to which the issues in the criminal case overlap with those
                  presented in the civil case; 2) the status of the case, including whether the
                  defendants have been indicted; 3) the private interests of the plaintiffs in
                  proceeding expeditiously weighed against the prejudice to plaintiffs caused
                  by the delay; 4) the private interests of and burden on the defendants; 5) the
                  interests of the courts; and 6) the public interest.

  F.T.C. v. E.M.A. Nationwide, Inc., 767 F.3d 611, 627 (6th Cir. 2014) (citing Chao v. Fleming, 498

  F. Supp. 2d 1037 (W.D. Mich. 2007)). As explained below, an evaluation of each of the factors

  listed above supports the granting of a stay in this civil case.

          First, it is clear that Plaintiffs believe there is significant overlap between the pending

  criminal case and this civil matter. The criminal indictment alleges that Mr. Handy tampered with

  physical evidence in the 1992 prosecution of Keith West, and that he committed perjury in the

  1995 prosecution of Edwin Chandler. While neither of these investigations should be relevant in

  the current suit, the Plaintiffs seem to prefer that Mr. Chandler and Mr. West be their star witnesses

  in this case.

          The Court need look no farther than Plaintiffs’ Complaints to see how integral they believe

  that the investigations into the Keith West and Edwin Chandler matters are to this case. Both

  Complaints are littered with references to Handy’s “reputation” and “playbook,” and spend many

  paragraphs specifically addressing the allegations in the West and Chandler cases. (See R. 38, ¶¶

  47-50, 151-152, and 169-170; R. 39, ¶¶ 47-50, 151-152, and 169-170). Further evidence of the

  overlap is the fact that the Plaintiffs actually called Edwin Chandler as a witness at the 2015

  evidentiary hearing which ultimately led to their exoneration. Furthermore, even if one puts

  Chandler and West as individuals aside, there is significant overlap between the two cases because

  the same policies and practices are at issue in both the civil and criminal cases.

          It is apparent from the pleadings that Plaintiffs do not want to try this case on its own facts,


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  but would rather litigate the West and Chandler cases—both of which are the subject of Handy’s

  criminal indictment. Document productions and discovery requests from Plaintiffs both affirm

  this strategy. Furthermore, Plaintiffs’ pleadings make clear that they believe the same practices

  and procedures which are at issue in the criminal indictment also led to a faulty investigation here.

  The overlap is significant between the two cases and weighs in favor of imposing a stay.

         Second, courts consider the status of the criminal case, including whether the defendants

  have been indicted. Courts have found that the strongest case for a stay of discovery in a civil case

  occurs during a criminal prosecution after an indictment is returned. Milton Pollack, Parallel Civil

  and Criminal Proceedings, 129 F.R.D. 201, 203 (1990). The “potential for self-incrimination is

  greatest during this stage, and the potential harm to civil litigants arising from delaying them is

  reduced due to the promise of a fairly quick resolution of the criminal case under the Speedy Trial

  Act.” See also Boerste 2017 WL 6377976, at *3 (“[P]rejudice to the plaintiffs in the civil case is

  reduced since the criminal case will likely be quickly resolved due to Speedy Trial Act

  considerations.”); Stockwell, 2016 WL 3438108, at *5 (E.D. Mich. June 23, 2016) (noting that

  delay cause by stay in civil proceedings “should not be extensive as the law requires the criminal

  case to proceed in a speedy manner.”) The same is true here.

         The third factor requires that the Court balance the Plaintiffs’ interests in an expedient

  resolution of the civil matter, with any prejudice caused by delay. In this case, the Plaintiffs will

  not be harmed if the Court grants the stay. Although resolution of this civil matter might be

  delayed, there is little likelihood that evidence will be lost or witnesses will become unavailable.

  This is true for a couple of reasons. First, Handy is only asking to stay discovery propounded on

  him. As he explained in his responses to written discovery from Hardin (issued prior to his

  criminal indictment), Handy does not have any documents in his possession to produce, and he



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  remembers little from the underlying Warford investigation. Apparently Plaintiff Clark was not

  too concerned with evidence being lost because he has waited until now (literally one year after

  Plaintiffs’ requested stay was lifted and nearly two years after filing suit) to file his own discovery

  requests. Second, the likelihood of evidence being lost during the stay period is greatly diminished

  by the fact that the underlying murder investigation took place over twenty-five years ago, and has

  been investigated almost continuously for over a decade, guaranteeing that the evidence is

  preserved.

         Fourth, Mr. Handy’s interests will be irreparably harmed absent a stay, as he will be limited

  in his ability to present a defense. The allegations in Plaintiffs’ complaint and the policies and

  practices at issue are inextricably intertwined with those of the parallel criminal proceedings. To

  this point, some of the interrogatories served on Handy are targeted at his knowledge of, and

  adherence to, the same exact policies he is alleged to have violated in the criminal proceeding.

  Some of the interrogatories go a step further and focus in on the underlying cases at issue in the

  criminal proceeding.

         It is likely that Mr. Handy will be forced to assert his Fifth Amendment right against self-

  incrimination should this matter proceed before the criminal matter concludes. As the Court noted

  in Grider, the Fifth Amendment privilege is available in civil cases where the person asserting the

  privilege might implicate himself in criminal activity by testifying. 2006 WL 3354140, at *3

  (citing In re Gault, 387 U.S. 1, 18 (1967)). The Fifth Amendment, however, no longer protects a

  defendant from testifying after the criminal trial. Id. (citing United States v. Smith, 245 F.3d 538,

  542 (6th Cir. 2001) (quoting Mitchell v. United States, 526 U.S. 314, 326 (1999) (“It is true, as a

  general rule, that where there can be no further incrimination, there is no basis for the assertion of

  the privilege. We conclude that principle applies to cases in which the sentence has been fixed



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   and the judgment of conviction has become final. If no adverse consequences can be visited upon

   the convicted person by reason of further testimony, then there is no further incrimination to be

   feared.”)). In this respect, Handy’s inability to testify will impact both the Plaintiffs’ and his own

   ability to fully present their respective cases.

           Finally, courts are to consider the interest of the courts and the public in deciding whether

   to stay a case. Here, both factors weigh in favor of granting the stay. Requiring Handy to only

   partially answer written discovery or sit for a deposition in this case, where he will likely have to

   invoke his Fifth Amendment privilege, and then having to reconvene a deposition after the

   resolution of the criminal proceeding is a waste of both time and resources. See Boerste, 2017 WL

   6377976, at *4; Auramet, 2016 WL 4087234, at *4 (“[A] stay of the civil proceedings ‘will further

   the interest in economical use of judicial time and resources.’”) (internal citations omitted);

   Stockwell, 2016 WL 3438108, at *3 (“The resolution of the criminal proceedings may serve to

   expedite the civil proceedings, avoiding the needless expense of judicial time and resources.”);

   Grider, 2006 WL 3354140, at *4 (Judicial economy is best promoted by granting a stay so that the

   parties might obtain discovery more easily and without frequent Court intervention.) The same

   logic is true here as discovery will proceed more efficiently, and will require less court

   intervention, following the completion of Handy’s criminal prosecution.


                                                 Conclusion
           While one would not know it based on Plaintiffs’ Complaint, the evidence will show that

   Handy actually played a relatively minor role in this case. He was not present immediately after

   the murder, but was brought in along with some of his colleagues from the Louisville Police

   Department to assist Meade County in their investigation. Handy interviewed the Plaintiffs in the

   underlying criminal investigation, and authored a handful of police reports (all of which have


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   already been disclosed). That is the extent of his involvement. Notwithstanding his minor role,

   the Plaintiffs would like the Court, and the public, to believe that Handy had it out to get them.

          Apparently aware that they cannot win this case on its own facts, the Plaintiffs insist on re-

   litigating the Keith West and Edwin Chandler prosecutions here. These cases are the subject of a

   criminal indictment against Handy. By litigating the case in this way, the Plaintiffs are placing

   Handy in the untenable position of having to decide between exercising his Fifth Amendment right

   against self-incrimination, and fully defending against this frivolous civil action. Mr. Handy asks

   that the Court permit him to exercise both his constitutional right against self-incrimination, and

   to defend this action by staying any and all discovery propounded on him until his criminal

   proceedings are finally resolved. In the meantime, the Plaintiffs may continue to develop their

   cases in other ways, either through their own independent investigation, or by pursuing discovery

   against the remaining defendants.


                                                  Respectfully submitted,

                                                  /s/ Kent Wicker
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                                 CERTIFICATE OF SERVICE

          The undersigned hereby certifies that the foregoing was served by electronic filing this

   27th day of February, 2019.


                                              /s/ Kent Wicker
                                              Kent Wicker

                                               Counsel for Defendant Mark Handy




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